                Case 20-10901-amc                   Doc         Filed 12/06/24 Entered 12/06/24 08:43:11                              Desc Main
                                                                Document      Page 1 of 3
 .Fill in this information to identify the case:
     Debtor1                Sheronda M. Wheeler

     Debtor 2               Troy Wheeler
     (Spouse, if filing)

     United States Bankruptcy Court for the : EASTERN District of Pennsylvania
                                                               (State)
     Case number 20-10901-amc




Form 4100R
Response to Notice of Final Cure                                                                                                                       10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:             Mortgage Information


     Name of creditor: U.S. BANK TRUST NATIONAL ASSOCIATION                                                                    Court claim no. (if known): 3-1
     NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER
     TRUSTEE FOR RCF 2 ACQUISITION TRUST
     Last 4 digits of any number you use to identify the debtor’s account: 0751

     Property address:             4508 OVERBROOK AV ,
                                   Number          Street

                                   PHILADELPHIA, PA 19131
                                   City                                 State        ZIP Code
 Part 2:             Prepetition Default Payments

 Check one:

     [X]         Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the
                 creditor’s claim

     [ ]         Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
                 creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this
                 response is:                                                                                                            $___________
 .


 Part 3:             Postpetition Mortgage


 Check one:

     [X]         Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                 Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                 The next postpetition payment from the debtor(s) is due on:              4/1/2025
                                                                                          MM/DD/YYYY

     [ ]         Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                 Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                 Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                 a. Total postpetition ongoing payments due:                                                                               (a) $_________
                 b. Total fees, charges, expenses, escrow and costs outstanding:                                                         + (b) $_________
                 c. Total. Add lines a and b.
                                                                                                                                           (c) $_________
                 Creditor asserts that the debtor(s) are contractually
                 obligated for the postpetition payment(s) that first became
                 due on:
                                                                                          MM/ DD/ YYYY




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                   Case 20-10901-amc                               Doc   Filed 12/06/24 Entered 12/06/24 08:43:11                   Desc Main
Debtor 1       Sheronda M. Wheeler                                       Document Case Page 2 of
                                                                                         number      3
                                                                                                (if known) 20-10901-amc
               First Name         Middle Name              Last Name




Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in
Part 3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

               X      /s/Sherri R. Dicks                                                             Date: 12/05/2024
                      Signature



 Print                Sherri R. Dicks                                                               Title Authorized Agent
                      First Name                         Middle Name        Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:



 Address              130 Clinton Rd #202
                      Number                    Street


                      Fairfield                                NJ                 07004
                      City                                 State               ZIP Code


 Contact              470-321-7112                                                                        Email: sdicks@raslg.com




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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on ______________________,
                                        December 6, 2024    I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via United States Mail to the following:

Sheronda M. Wheeler
4508 Overbrook Avenue
Philadelphia, PA 19131

Troy Wheeler
4508 Overbrook Avenue
Philadelphia, PA 19131

And via electronic mail to:

MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

SCOTT F. WATERMAN [Chapter 13]
Chapter 13 Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107


                                                  By: /s/ Justine Bennett
                                                  Justine Bennett
                                                  Email: Jusbennett@raslg.com




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